             Case 3:16-md-02741-VC Document 2601 Filed 01/30/19 Page 1 of 5



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     Co-Lead Counsel for Plaintiffs
16
                               UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18

19    IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
      LIABILITY LITIGATION
20
                                                      Case No. 16-md-02741-VC
21
      This document relates to:                       PLAINTIFFS’ NOTICE OF
22                                                    UNOPPOSED MOTION AND
      Hardeman v. Monsanto Co., et al.,               UNOPPOSED MOTION IN
23
      3:16-cv-0525-VC;                                LIMINE NO. 8 TO EXCLUDE
24    Stevick v. Monsanto Co., et al.,                EVIDENCE AND ARGUMENT
      3:16-cv-02341-VC;                               REGARDING PREVIOUS
25    Gebeyehou v. Monsanto Co., et al.,              ARREST HISTORY, CRIMINAL
      3:16-cv-5813-VC                                 RECORD, AND OTHER “BAD
26
                                                      ACTS”
27

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       PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 8 TO EXCLUDE EVIDENCE AND ARGUMENT
         REGARDING PREVIOUS ARREST HISTORY, CRIMINAL RECORD, AND OTHER “BAD ACTS”
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1
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
2
     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
3
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
4
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their Unopposed Motion
5
     in Limine to Exclude Evidence and Argument Regarding Previous Criminal Arrest History. A
6
     supporting memorandum is filed herewith.
7
     Dated: 1/30/2019                                   Respectfully submitted,
8

9                                                       /s/ Aimee Wagstaff
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14                                                      /s/ Robin Greenwald
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                                                        Plaintiffs’ Co-Lead Counsel
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       PLAINTIFFS’ UNOPPOSED MOTION IN LIMINE NO. 8 TO EXCLUDE EVIDENCE AND ARGUMENT
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1
                     MEMORANDUM OF POINTS AND AUTHORITIES
2
            Plaintiffs hereby submit the following memorandum of points and authorities in support of
3
     their unopposed motion in limine to preclude any mention of Plaintiffs’ previous arrests, criminal
4
     record, and other “bad acts.” Defendant does not oppose this Motion.
5
            I.       INTRODUCTION
6
            Testimony and evidence concerning any prior arrests and criminal history are both non-
7
     relevant and highly prejudicial. FRE 403. Evidence and testimony regarding any arrest, speeding
8
     ticket(s), misdemeanor convictions, or other criminal history are inadmissible and irrelevant, and
9

10
     would create a substantial danger of unfairly prejudicing Plaintiffs, confusing the issues, and

11   misleading the jury.

12          II.      ARGUMENT

13                A. Only Felony Convictions Constituting Moral Turpitude Are Admissible
                     Under California Law.
14

15          Only felony convictions, which constitute moral turpitude, are admissible under California
16   law and misdemeanor convictions are routinely excluded. People v. Covert, 249 Cal. App.2d 81,
17   90 (1967); People v. Beagle, 6 Cal.3d 441 (1972). Under California law, questioning a witness in
18   a manner to evade the rule excluding misdemeanor convictions is also prohibited. See People v.
19   Sutton, 231 Cal. App.2d 511, 514 (1964) (Improper to ask, “where are you presently residing?” to
20   elicit the response, “in the county jail”); see also People v. Lent, 15 Cal.3d 481 (1975).
21
            Plaintiffs are not convicted felons. Furthermore, there is absolutely no evidence in any of
22
     the Group 1 cases that a Plaintiff had any felony conviction, much less a conviction involving
23
     moral turpitude. Not only are prior criminal charges irrelevant to these cases, they also lack
24
     probative value. There is absolutely no connection between any criminal history of Plaintiffs and
25
     the issues in this case. In addition to being irrelevant and lacking probative value, references to
26
     prior criminal charges would be highly prejudicial. To the extent there is any probative value to
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     such evidence, it is substantially outweighed by its prejudicial effect, and it should be excluded at
2
     trial. FRE 401 and 403. See also United States v. Bland, 908 F.2d 471, 473 (9th Cir. 1990).
3
                   B. Evidence Of Arrests And Accusations Of Crimes Is Inadmissible.
4
            Arrests and alleged bad acts that did not result in felony conviction must also be excluded.
5
     See Grundt v. City of Los Angeles, 2 Cal.3d 575 (1970). Questioning regarding arrests and
6
     accusations that did not result in conviction is considered highly prejudicial and reversible error.
7
     Id. Indeed, presenting any evidence to the jury on the witness’ general bad character or accusations
8
     that were made against the Plaintiffs are expressly prohibited, excepting only felony convictions.
9

10
     Id. Thus, in addition to any misdemeanor convictions, any evidence of arrests or charges not

11   resulting in felonies must be excluded.

12          For example, Mr. Hardeman testified that he believed he had been stopped by the police,

13   possibly for speeding, and testified he has never been stopped by police for driving under the

14   influence. Any testimony or evidence regarding his deposition testimony (i.e., that he may have

15   been stopped by the police at least once) would create a substantial danger of unfairly prejudicing
16   the Plaintiffs’ case, confusing the issues, and misleading the jury. Specifically, any such
17   questioning or evidence is likely to cause the jury to evaluate the merits of the case based on highly
18   prejudicial, irrelevant evidence, rather than on evidence relevant to the issue of causation.
19   Accordingly, any questioning, evidence or testimony regarding same should be excluded. FRE
20   403.
21
            III.      CONCLUSION
22
            For the foregoing reasons, Plaintiffs respectfully request that this Court exclude the
23
     evidence as requested.
24
     Dated: 1/30/2019                                      Respectfully submitted,
25
                                                           /s/ Aimee Wagstaff
26
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14                                                      Plaintiffs’ Co-Lead Counsel
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                                    CERTIFICATE OF SERVICE
16

17
            I certify that on January 30, 2019, I electronically filed the foregoing document with the

18   Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

19   CM/ECF participants registered to receive service in this MDL.

20
                                                        /s/ Aimee Wagstaff______________
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